3:15-cv-02123-DCN         Date Filed 02/13/17    Entry Number 294        Page 1 of 41




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

     JAMES WILSON CHESHER, and                    )
     CHERYL ANN CHESHER,                          )
                                                  )
                            Plaintiffs,           )
                                                  )          No. 3:15-cv-02123-DCN
                    vs.                           )
                                                  )                  ORDER
     3M COMPANY, et al.,                          )
                                                  )
                            Defendants.           )
                                                  )

            This matter is before the court on defendant Crane Co.’s (“Crane”) motion for

     summary judgment. For the reasons stated below, the court denies Crane’s motion.

                                          I. BACKGROUND

            Plaintiff James Wilson Chesher (“Chesher”), a former machinist mate and a

     commissioned officer in the U.S. Navy, together with his wife, plaintiff Cheryl Ann

     Chesher (together “plaintiffs”), allege that Chesher’s exposure to asbestos throughout his

     Naval career, caused him to develop mesothelioma. Compl. ¶¶ 31–34. Chesher served in

     the Navy from 1965 to 1989. For a significant portion of his career, Chesher conducted

     or oversaw maintenance and repair work on various types of equipment, including valves

     and de-aerating feed tanks—large tanks which remove dissolved oxygen from the water

     before it is sent to the boiler. ECF No. 226-1, Chesher Video Dep. at 21:21–22:17,

     26:10–22; ECF No. 226-2, Chesher First Dep. at 147:7–14. Chesher’s work on valves

     required him, or his subordinate, to remove and replace internal packing and bonnet

     gaskets, which were frequently made from asbestos-containing materials. Chesher Video

     Dep. at 26:10–22 (describing work on internal packing and bonnet gaskets); ECF No.



                                                 1
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294        Page 2 of 41




     226-9, Pantaleoni Dep. at 24:5–26:24, 57:7–25, 63:3–64:22, 72:9–18 (discussing

     drawings of valves approved for use by the Navy that specified the use of asbestos-

     containing materials); ECF No. 226-10, Moore Aff. ¶ 17 (noting that Crane drawings

     specified use of asbestos containing internal packing and bonnet gaskets for certain

     valves installed on the USS Henderson and USS Fox). This work produced dust which

     Chesher breathed in. Pantaleoni Dep. at 27:20–28:25, 30:1–30:21. Chesher’s work on

     de-aerating feed tanks required him to access nozzles inside the tank by crawling through

     a manhole. Chesher First Dep. at 53:11–15. The record contains evidence that this

     manhole was sealed by an asbestos-containing gasket, Moore Aff. ¶ 19, which needed to

     be removed and replaced whenever the tank was inspected. ECF No. 226-3, Chesher

     Second Dep. at 456:13–18.

            Crane supplied valves for use on board the ships where Chesher performed, or

     closely supervised, valve maintenance.1 ECF No. 226-8, Crane Answers to Interrogs. at

     20. Indeed, Chesher recalls working on Crane valves frequently throughout his career.

     Chesher Second Dep. at 420:4–15. Though Crane did not manufacture asbestos-

     containing sheet packing or gaskets, these products were installed in Crane’s valves at the

     time they were supplied to the Navy, see Pantaleoni Dep. at 24:5–11, 24:24–25:5

     (indicating that Crane would have to provide component parts as specified in design

     drawings at time of delivery), and Crane was aware that the valves’ sheet packing and
            1
               Crane admits to supplying valves to the USS Cadmus, USS Fox, USS Mahan,
     and USS Pratt. ECF No. 226-8, Answers to Interrogs. 20. Crane cannot confirm whether
     it sold valves for use on the USS Henderson and USS Kraus, but has found
     documentation indicating that its valves were approved for use on those ships. Id.
     Additionally, plaintiffs’ expert contends that Crane’s documents show that it supplied
     valves used on the USS Henderson, USS Fox, and USS Kraus. Moore Aff. ¶ 17. The
     court finds this evidence sufficient to raise a genuine issue of fact as to whether Crane
     valves were used on all the ships Chesher served on during the relevant portion of his
     career.
                                                 2
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294        Page 3 of 41




     gaskets would need to be replaced periodically. ECF No. 226-5, Crane Catalog No. 60 at

     10–11. Crane is also alleged to be the successor-in-interest to Cochrane Corp.

     (“Cochrane”), which manufactured the de-aerating feed tanks for two of the ships on

     which Chesher served. Moore Aff. ¶ 19. Like the gaskets used in Crane valves, the

     gaskets used to seal the manhole on the de-aerating feed tanks would have been replaced

     periodically—namely, each time the tanks were opened. Id. ¶ 20.

            On April 15, 2015, plaintiffs brought the instant action in the Court of Common

     Pleas in Richland County, South Carolina, alleging claims for negligence, gross-

     negligence, negligence per se, conscious pain and suffering, punitive damages, and loss

     of consortium against a number of defendants. The action was removed to this court on

     May 22, 2015. On March 4, 2016, Crane filed the instant motion for summary judgment.

     ECF No. 187. Plaintiffs filed a response on April 4, 2016, ECF No. 226, and Crane filed

     a reply on April 14, 2016. ECF No. 230. The court held a hearing on June 2, 2016, and

     ordered the parties to conduct supplemental briefing. Plaintiffs filed their supplemental

     brief on June 3, 2016, ECF No. 248, and Crane filed a response on June 8, 2016. ECF

     No. 249. The motion is now ripe for the court’s review.

                                          II. STANDARD

            Summary judgment shall be granted “if the pleadings, the discovery and

     disclosure materials on file, and any affidavits show that there is no genuine dispute as to

     any material fact and that the movant is entitled to judgment as a matter of law.” Fed. R.

     Civ. P. 56(c). “By its very terms, this standard provides that the mere existence of some

     alleged factual dispute between the parties will not defeat an otherwise properly

     supported motion for summary judgment; the requirement is that there be no genuine



                                                  3
3:15-cv-02123-DCN        Date Filed 02/13/17       Entry Number 294          Page 4 of 41




     issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986).

     “Only disputes over facts that might affect the outcome of the suit under the governing

     law will properly preclude the entry of summary judgment.” Id. at 248. “[S]ummary

     judgment will not lie if the dispute about a material fact is ‘genuine,’ that is, if the

     evidence is such that a reasonable jury could return a verdict for the nonmoving party.”

     Id.

             “[A]t the summary judgment stage the judge’s function is not himself to weigh

     the evidence and determine the truth of the matter but to determine whether there is a

     genuine issue for trial.” Id. at 249. When the party moving for summary judgment does

     not bear the ultimate burden of persuasion at trial, it may discharge its burden by

     demonstrating to the court that there is an absence of evidence to support the non-moving

     party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). The non-movant must

     then “make a showing sufficient to establish the existence of an element essential to that

     party’s case, and on which that party will bear the burden of proof at trial.” Id. at 322.

     The court should view the evidence in the light most favorable to the non-moving party

     and draw all inferences in its favor. Anderson, 477 U.S. at 255.

                                          III. DISCUSSION

             A.      Jurisdiction and Choice of Law

             At the outset, the court notes that there is no dispute that court has admiralty

     jurisdiction over this action. Def.’s Mot. 5–7; Pls.’ Resp. 9. Because the Court has

     admiralty jurisdiction, it must apply maritime law. See E. River S.S. Corp. v.

     Transamerica Delaval, Inc., 476 U.S. 858, 864 (1986) (“With admiralty jurisdiction

     comes the application of substantive admiralty law.”). “Drawn from state and federal



                                                    4
3:15-cv-02123-DCN        Date Filed 02/13/17       Entry Number 294         Page 5 of 41




     sources, the general maritime law is an amalgam of traditional common-law rules,

     modifications of those rules, and newly created rules.” Id. at 864–65. “The role of state

     law in maritime cases is significant and complex.” Wells v. Liddy, 186 F.3d 505, 524

     (4th Cir. 1999). A “fundamental feature of admiralty law” is that “federal admiralty

     courts sometimes do apply state law.” Jerome B. Grubart, Inc. v. Great Lakes Dredge &

     Dock Co., 513 U.S. 527, 546 (1995). State law may be used to supplement federal

     maritime law as long as state law is “compatible with substantive maritime policies” and

     is not “inconsonant with the substance of federal maritime law.” Yamaha Motor Corp.,

     U.S.A. v. Calhoun, 516 U.S. 199, 202 (1996); see also Askew v. Am. Waterways

     Operators, Inc., 411 U.S. 325, 341 (1973) (“Even though Congress has acted in the

     admiralty area, state regulation is permissible, absent a clear conflict with the federal

     law.”); Princess Cruises, Inc. v. Gen. Elec. Co., 143 F.3d 828, 834 (4th Cir. 1998)

     (“When no federal statute or well-established rule of admiralty exists, admiralty law may

     look to the common law or to state law, either statutory or decisional, to supply the rule

     of decision.”); Byrd v. Byrd, 657 F.2d 615, 617 (4th Cir. 1981) (“[A]dmiralty law, at

     times, looks to state law, either statutory or decisional, to supply the rule of decision

     where there is no admiralty rule on point.”). However, “state law may not be applied if it

     conflicts with, or seeks to materially change, federal maritime law.” E.g., State of Md.

     Dep’t of Natural Res. v. Kellum, 51 F.3d 1220, 1226 (4th Cir. 1995). Thus, the court

     must apply substantive maritime law supplemented by state law to the extent that it does

     not conflict with well-established maritime law.




                                                   5
3:15-cv-02123-DCN        Date Filed 02/13/17      Entry Number 294         Page 6 of 41




            B.      Duty to Warn Under Maritime Law

            Crane argues that it cannot be held liable for Chesher’s injuries because there is

     no evidence that he was ever exposed to any asbestos-containing products that were

     manufactured or distributed by Crane. Def.’s Mot. 8. This argument, commonly known

     as the “bare metal defense,” is premised on the assertion that a product manufacturer is

     not responsible for harms caused by a product it did not manufacture or supply. Products

     Liability, 3 The Law of Seamen § 31:6 (5th ed.). Plaintiffs contend that, in certain

     narrow circumstances, the bare metal defense is unavailable and an equipment

     manufacturer may be held liable for its failure to warn of risks arising from exposure to

     asbestos-containing components supplied by third parties. Pls.’ Resp. 9–11. The bare

     metal defense has garnered increased attention in recent years as courts have sought to

     determine whether it applies in cases where the defendant’s products did not contain the

     actual asbestos fibers that the plaintiff inhaled, but were nonetheless integral to the

     plaintiff’s asbestos exposure. This court now joins this endeavor.

            The starting point for any analysis of the bare metal defense under maritime law is

     Lindstrom v. A-C Prod. Liab. Trust, 424 F.3d 488 (6th Cir. 2005). In Lindstrom, the

     Sixth Circuit addressed maritime law’s requirements for establishing causation in a

     products liability action. The court held regardless of whether the action was brought

     under a theory of negligence or strict liability, “a plaintiff must show, for each defendant,

     that (1) he was exposed to the defendant’s product, and (2) the product was a substantial

     factor in causing the injury he suffered.” Id. at 492. Applying this principle to the

     plaintiffs’ claims against the manufacturers of certain pumps and valves that utilized

     asbestos-containing replacement parts, the Lindstrom court determined that the



                                                   6
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 7 of 41




     defendants were entitled to summary judgment because the plaintiffs had not shown that

     the defendants actually manufactured the asbestos-containing material that caused their

     injuries. Id. at 495–97 (holding that “Henry Vogt cannot be held responsible for material

     ‘attached or connected’ to its product on a claim of a manufacturing defect,” “Coffin

     Turbo cannot be held responsible for the asbestos contained in another product,” and

     “Ingersoll Rand cannot be held responsible for asbestos containing material that it was

     incorporated into its product post-manufacture”).

            In a case addressing similar facts, the federal asbestos multidistrict litigation

     (“MDL”) court applied the same principle to the plaintiffs’ failure-to-warn claims.

     Conner v. Alfa Laval, Inc., 842 F. Supp. 2d 791 (E.D. Pa. 2012). In Conner, the plaintiffs

     alleged that the defendant-manufacturers were liable for their failure to warn of the risks

     associated with asbestos-containing replacement components used in their products. The

     MDL court acknowledged that there was evidence that:

            [d]efendants knew Navy sailors would be exposed to asbestos while
            repairing and maintaining [d]efendants’ products; that the products
            “required” asbestos insulation, gaskets, and packing; that [d]efendants
            sometimes shipped their products with asbestos components “already in
            place”; that [d]efendants supplied asbestos-containing replacement parts;
            and that their products required maintenance that would expose the sailors
            to asbestos-containing products.

     Id. Despite this evidence, the MDL court relied on Lindstrom and certain state court

     decisions to hold that, “under maritime law, a manufacturer is not liable for harm caused

     by, and owes no duty to warn of the hazards inherent in, asbestos products that the

     manufacturer did not manufacture or distribute.” See id. at 798–801 (discussing

     Lindstrom, and certain California and Washington state court decisions). The MDL court

     also highlighted the public policy concerns underlying its decision, explaining that

     “public policy demands that the burden of accidental injuries caused by products intended
                                                   7
3:15-cv-02123-DCN        Date Filed 02/13/17       Entry Number 294        Page 8 of 41




     for consumption be placed upon those who market them, and be treated as a cost of

     production against which liability insurance can be obtained,” id. at 801 (quoting

     Restatement (Second) of Torts § 402A cmt. c (1965)), and concluding that these concerns

     “weigh against holding manufacturers liable for harm caused by asbestos products they

     did not manufacture or distribute because those manufacturers cannot account for the

     costs of liability created by the third parties’ products.” Id.

            The court in Quirin v. Lorillard Tobacco Co. took a different approach. 17 F.

     Supp. 3d 760 (N.D. Ill. 2014). While the Quirin court acknowledged that Lindstrom

     appeared to preclude recovery for claims based on exposure to asbestos-containing

     replacement components, the court found that Lindstrom’s holding was not determinative

     because the Lindstrom court did not discuss failure-to-warn claims. Id. at 768. The court

     also acknowledged the MDL court’s decision in Conner, but explained that not all courts

     had applied the same approach when faced with this issue. Id. at 769. After surveying

     the caselaw, the court found that three basic approaches had emerged:

            Some courts have concluded that a defendant is liable whenever the use of
            asbestos in connection with its product is foreseeable. [] Conversely, other
            courts have concluded that a defendant is never liable when the material
            containing asbestos was supplied by a third party. [] Finally, some courts
            have followed a middle road, finding a duty where the use of asbestos-
            containing materials was specified by a defendant, was essential to the
            proper functioning of the defendant’s product, or was for some other
            reason so inevitable that, by supplying the product, the defendant was
            responsible for introducing asbestos into the environment at issue.

     Id. The court then adopted the “middle path” and held that while a manufacturer

     generally could not be held liable for materials it did not supply,

            a duty may attach where the defendant manufactured a product that, by
            necessity, contained asbestos components, where the asbestos-containing
            material was essential to the proper functioning of the defendant’s
            product, and where the asbestos-containing material would necessarily be


                                                    8
3:15-cv-02123-DCN        Date Filed 02/13/17       Entry Number 294         Page 9 of 41




             replaced by other asbestos-containing material, whether supplied by the
             original manufacturer or someone else.

     Id. at 769–70. The court described the scope of this duty in a number of ways,

     contrasting cases where there was no evidence that the defendant “specified that its

     [product] had to be used with asbestos-containing [material] or that the [product] required

     such [material] to function properly.” Id. at 771. The court also explained that “[t]he

     duty attaches only when the manufacturer incorporated the asbestos-containing material

     into its product.” Id. at 770. Finally, the court concluded that “a manufacturer should

     [not] avoid liability . . . , where it designed its products to be used with asbestos-

     containing materials and actually incorporated asbestos-containing materials into the

     products it sold,” reasoning that when such criteria were satisfied “a jury could conclude

     that it was not just foreseeable, but inevitable, that the product would subject those

     working with it to the possible hazards of asbestos exposure.” Id. at 771.

             In recent years, a split has emerged between courts applying Quirin, or a similar,

     Quirin-like approach, and courts adhering to Conner’s more restrictive view of a

     manufacturer’s duty to warn.2 Compare Osterhout v. Crane Co., 2016 WL 6310765, at

     *3 (N.D.N.Y. Oct. 27, 2016) (reiterating the court’s previous adoption of the Quirin

     analysis), Bell v. Foster Wheeler Energy Corp., 2016 WL 5780104, at *6 (E.D. La. Oct.

     4, 2016) (holding that a manufacturer that incorporates asbestos components into its

     finished product may be liable if the manufacturer’s failure to warn of hazards associated

     with “the original asbestos components . . . is a proximate cause of a subsequent harmful
             2
              Not all courts that have applied a Quirin-like approach have formally adopted
     Quirin, and even those that have purported to adopt Quirin have not been entirely
     consistent in their interpretations of Quirin. Nor have all of the courts that have strictly
     applied the bare metal defense explicitly “adopted” or “followed” Conner. Nevertheless,
     the court views the Quirn and Conner decisions as representative of the two primary
     approaches to this issue.
                                                    9
3:15-cv-02123-DCN      Date Filed 02/13/17       Entry Number 294        Page 10 of 41




     exposure to asbestos contained in an aftermarket replacement part” or “if the

     manufacturer negligently recommends the use of a defective aftermarket product”)

     (emphasis in original),3 Hedden v. CBS Corp., 2015 WL 5775570, at *14 (S.D. Ind. Sept.

     30, 2015) (recognizing that, generally, “a manufacturer cannot be liable for asbestos

     products that it did not manufacture or distribute,” but holding “the defendant may be

     liable for asbestos injuries” under the circumstances outlined in Quirin), Kochera v.

     Foster Wheeler, LLC, 2015 WL 5584749, at *4 (S.D. Ill. Sept. 23, 2015) (“Like the

     Quirin court, this Court is not convinced that a manufacturer should avoid liability on a

     failure to warn theory where it designed its products to be used with asbestos-containing

     materials.”), and Andrews v. 3M Co., No. 2:13-cv-2055, 2015 WL 12831315, at *6

     (D.S.C. May 22, 2015) (“[T]he Court follows Quirin and holds that [a manufacturer] can

     be legally responsible for internal asbestos-containing replacement packing under certain

     circumstances, even if there is no direct evidence that [the manufacturer] supplied the

     replacement packing.”), on reconsideration, sub nom. Andrews v. CBS Corp., 2015 WL

     12831342 (D.S.C. June 18, 2015),4 with Evans v. CBS Corp., 2017 WL 240079, at *1 (D.



            3
                Though the Bell court distinguished its analysis from Quirin, finding that
     Quirin’s analysis overlooked “the differing liabilities of manufacturers of final products
     and component parts, and [] the differences between strict products liability actions and
     negligence actions,” 2016 WL 5780104, at *5, this court reads the Bell decision to apply
     an approach that is much closer to Quirin than Conner. Not only did the Bell court flatly
     reject the defendants’ argument that “a company can never have any liability for a
     product that it did not make, sell, or otherwise control,” it also recognized that liability
     for “aftermarket asbestos products” may exist in circumstances similar to those outlined
     in Quirin, stating that, when asbestos-containing components are incorporated into a
     finished product and the plaintiff’s harm is caused by “materially identical” replacement
     components, “it is hard to see how the manufacturer’s breach of its duty to provide a
     suitable warning with respect to the original product is not at least one of the proximate
     causes of a resulting injury.” Id. at *8 n.16.
              4
                In addition to the decisions that have clearly adopted Quirin or some Quirin-like
     standard, the court is aware of two decisions—including one of its own—that have left
                                                  10
3:15-cv-02123-DCN      Date Filed 02/13/17      Entry Number 294        Page 11 of 41




     Del. Jan. 19, 2017) (“The so-called ‘bare metal defense’ is recognized by maritime law,

     such that a manufacturer has no liability for harms caused by—and no duty to warn about

     hazards associated with—a product it did not manufacture or distribute.” (quoting Carper

     v. Gen. Elec. Co., 2014 WL 6736205, at *1 (E.D. Pa. Sept. 4, 2014)); Stallings v.

     Georgia-Pac. Corp., 2015 WL 7258518, at *4 (W.D. Ky. Nov. 17, 2015) (holding that

     “[a] company is not responsible for the asbestos contained in another manufacturer’s

     product,” and granting summary judgment where plaintiff failed to produce evidence that

     defendant-manufacturer provided the asbestos-containing replacement components that

     the decedent was exposed to), aff’d on other grounds, 2017 WL 87023 (6th Cir. Jan. 10,

     2017),5 Crews v. Air & Liquid Sys. Corp., 2014 WL 639685, at *5 (N.D.N.Y. Feb. 18,



     the door open for Quirin, but have not adopted its analysis. In Dandridge v. Crane Co.,
     this court recognized the Quirin approach as

            a rational exception to the rule that a defendant “cannot be held
            responsible for the asbestos contained in another product,”[] because a
            product that “inevitably” subjects its user to “the possible hazards of
            asbestos exposure” and a product that actually contains asbestos bear
            comparable causal relationships to their users’ injuries.

     No. 2:12-cv-00484-DCN, 2016 WL 319938, at *3 (D.S.C. Jan. 27, 2016) (quoting
     Lindstrom, 424 F.3d at 496). However, the court ultimately found that the plaintiff had
     failed to present sufficient evidence to survive summary judgment, even if Quirin
     applied. Id.
             Similarly, in Holzworth v. Alfa Laval Inc., the court found that the defendant was
     entitled to summary judgment, regardless of whether maritime law or New York law
     applied, because there was no evidence that the defendant “placed the asbestos-
     containing components into the stream of commerce, played an active role in their use, or
     manufactured pumps that required such components.” 2016 WL 270450, at *4 (S.D.N.Y.
     Jan. 21, 2016). Though the Holzworth court cited to New York law on the matter, the
     court recognized that “the relevant maritime law and state law are congruous.” Id. at *3.
     The court further explained that the New York standard was equally, if not more
     permissive, than either the Quirin or Conner standards.
             5
               The Stallings decision, much like the Lindstrom decision, never explicitly
     addressed failure-to-warn claims. 2015 WL 7258518, at *1 (noting that the plaintiff
     sought relief “under theories of strict liability and negligence”). Nevertheless, the court
                                                 11
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 12 of 41




     2014) (holding that “Crane Co. had no duty to warn Plaintiff about the dangers of third-

     party products that were used with its valves because it neither had any control over the

     production of these products nor placed them into the stream of commerce”), Cabasug v.

     Crane Co., 989 F. Supp. 2d 1027, 1041 (D. Haw. 2013) (relying on Conner and holding

     that “under maritime law, a manufacturer is not liable for replacement parts that it did not

     place into the stream of commerce, whether the manufacturer’s product originally

     contained asbestos components or was designed to include asbestos components), and

     Faddish v. Buffalo Pumps, 881 F. Supp. 2d 1361, 1373 (S.D. Fla. 2012) (applying the

     bare metal defense to grant equipment manufacturer-defendants summary judgment

     where plaintiff failed to present evidence that “any of [the] [asbestos-containing]

     replacement parts” that caused the plaintiff’s injury were “made by any defendant or that

     defendants had any involvement with their installation”).6

            This rift has developed around a number of issues.7 Some courts have debated the

     scope of the Sixth Circuit’s holding in Lindstrom. Compare Devries v. Gen. Elec. Co.,

     188 F. Supp. 3d 454, 458 (E.D. Pa. 2016) (holding that Lindstrom extends to failure-to-

     warn claims, and therefore, “maritime law imposes no duty upon a product manufacturer

     to warn of the dangers associated with another manufacturer’s ‘product’ (or component

     part)”) and Cabasug, 989 F. Supp. 2d at 1039 (calling Lindstrom “instructive” on the


     finds that the Lindstrom decision can be read to support the Conner approach, and for the
     same reasons, the court places the Stallings decision on the Conner side of the ledger.
             6
               Though the Faddish court cited heavily to Florida law, the court only applied
     Florida law to the extent it was compatible with maritime law. 881 F. Supp. 2d at 1368
     (“[I]n the context of this case, Florida law is appropriately applied unless it conflicts with
     the substantive rule of federal admiralty law.”). The court viewed Florida law and
     maritime law as “parallel.” Id. at 1369.
             7
               The court does not mean to suggest that these are the only issues that have
     emerged, but simply views them as the most prevalent and meaningful issues that have
     driven courts’ analyses.
                                                   12
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 13 of 41




     scope of a manufacturer’s duty to warn “for its determination that a manufacturer is not

     liable for a third party’s replacement asbestos products”); with Andrews, 2015 WL

     12831315, at *6 (distinguishing Lindstrom as “a manufacturing defect case [that] did not

     consider or discuss a failure-to-warn claim”). Courts have also reached different

     conclusions on which approach is more consistent with the majority position under state

     law. Compare Bell, 2016 WL 5780104, at *2 (E.D. La. Oct. 4, 2016) (“[T]he recent

     trend in state court asbestos litigation has been to recognize limited circumstances in

     which a manufacturer can have duties to warn regarding a product that the manufacturer

     did not make, sell, or otherwise control.”) with Cabasug, 989 F. Supp. 2d at 1042 (finding

     that “[p]laintiffs can hardly suggest that Lindstrom and Conner are outliers in their

     conclusions where they too cited state law cases in support of their analyses,” and finding

     that the state law cases the plaintiffs provided in opposition were largely inapplicable to

     the question before the court). Most importantly, courts have taken different positions on

     which view best serves the policies animating product-liability and maritime law.

     Compare Bell, 2016 WL 5780104, at *8 (finding that “the manufacturer of the finished

     product containing asbestos may well be better placed to warn when compared to the

     manufacturer of an aftermarket wear item”); with Conner, 842 F. Supp. 2d at 801

     (finding that public policy considerations “weigh[] against holding manufacturers liable

     for harm caused by asbestos products they did not manufacture or distribute because

     those manufacturers cannot account for the costs of liability created by the third parties’

     products”). The court analyzes each of these issues in turn.




                                                  13
3:15-cv-02123-DCN        Date Filed 02/13/17     Entry Number 294         Page 14 of 41




                    1.      Scope of the Lindstrom Decision

            As noted above, the Conner court relied heavily on the Lindstrom decision in

     concluding that a manufacturer owes no duty to warn with respect to “asbestos products

     that the manufacturer did not manufacture or distribute.” See Conner, 842 F. Supp. 2d at

     801 (construing this position as an “adoption” of Lindstrom). In contrast, the Quirin

     court distinguished Lindstrom on the grounds that the Lindstrom decision did not

     discuss failure-to-warn claims. Quirin, 17 F. Supp. 3d at 768. More recently, the MDL

     court has identified this issue as “the source of divergence between the Conner and

     Quirin decisions.” Devries, 188 F. Supp. 3d at 463. Courts that have adopted a Quirin-

     like approach to the failure-to-warn issue have generally avoided a direct challenge to the

     holding in Lindstrom, either by explicitly distinguishing it or implicitly suggesting that it

     did not require an application of the bare metal defense to failure-to-warn claims. See

     Hedden, 2015 WL 5775570, at *11 (citing Lindstrom for the general principles of

     causation but nevertheless holding that a defendant may be liable under the circumstances

     outlined in Quirin); Kochera, 2015 WL 5584749, at *3 (same); Andrews, 2015 WL

     12831315, at *6 (distinguishing Lindstrom as “a manufacturing defect case [that] did not

     consider or discuss a failure-to-warn claim”); but see Bell, 2016 WL 5780104, at *1

     (reading Lindstrom to hold that a manufacturer can never be liable “unless the

     manufacturer made, sold, or otherwise controlled the precise aftermarket asbestos

     components that released the asbestos fibers that injured the plaintiff,” and refusing to

     adopt such a view). Thus, the interpretation of Lindstrom has served as something of a

     gateway issue into the Quirin-Conner debate.




                                                  14
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294        Page 15 of 41




            In Devries, the MDL court explained its interpretation of Lindstrom, making it

     clear that it read Lindstrom’s reference to “both negligence and strict liability theories” to

     encompass failure-to-warn claims. Devries, 188 F. Supp. 3d at 459 n.7. Thus, in the

     MDL court’s view, Lindstrom requires a plaintiff show “evidence of exposure to asbestos

     from the defendant’s ‘product’” in any products liability action brought under maritime

     law. Id. at 460–61. “Implicit in this rule is the holding that a product manufacturer has

     no duty to warn about hazards arising from another manufacturer’s product (or

     component part).” Id. at 460 n.11.

            The court has no doubt that this is a fair reading of the Lindstrom decision.

     Indeed, other courts have adopted similar readings. See, e.g., Bell, 2016 WL 5780104, at

     *1 (reading Lindstrom to hold that a manufacturer can never be liable “unless the

     manufacturer made, sold, or otherwise controlled the precise aftermarket asbestos

     components that released the asbestos fibers that injured the plaintiff”); Cabasug, 989 F.

     Supp. 2d at 1039 (calling Lindstrom “instructive” on the scope of a manufacturer’s duty

     to warn “for its determination that a manufacturer is not liable for a third party’s

     replacement asbestos products”). Moreover, the court is hesitant to deviate from the

     MDL court’s position, given the MDL court’s expertise in this area of the law.

     Nevertheless, the court is convinced that the better reading of Lindstrom does not extend

     to failure-to-warn claims. The Lindstrom court’s reference to “negligence and strict

     liability theories” is at least ambiguous, 424 F.3d at 492, and the decision contains no

     discussion of failure-to-warn claims. This alone has been enough to convince some

     courts—including one in this district—that Lindstrom does not extend to such claims.

     Andrews, 2015 WL 12831315, at *6 (distinguishing Lindstrom as “a manufacturing



                                                  15
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 16 of 41




     defect case [that] did not consider or discuss a failure-to-warn claim”); Quirin, 17 F.

     Supp. 3d at 768 (distinguishing Lindstrom on the ground that it “did not discuss a failure-

     to-warn claim”).

            The court also finds that applying Lindstrom in the failure-to-warn context is

     conceptually problematic. The Lindstrom court held that to prove causation, a plaintiff

     must prove that “he was exposed to the defendant’s product, and [] the product was a

     substantial factor in causing the injury he suffered.” 424 F.3d at 492. This rule is

     straightforward enough when a manufacturer breaches its duty by supplying a defective

     product because the product serves as a physical embodiment of the breach. Thus,

     causation can only be traced to the manufacturer through the manufacturer’s own

     product. The same is not true when a manufacturer breaches its duty to warn of a

     product’s unreasonably dangerous condition. In that situation, the breach does not arise

     out of the creation of the product itself but instead out of the manufacturer’s failure to

     warn of the danger the product creates. Restatement (Second) of Torts § 388 (1965).

     Conceptually then, the plaintiff’s task is to establish a causal link between his injury and

     the manufacturer’s omission, not the product itself.

            It might be argued that this is a distinction without a difference—if the

     manufacturer’s product did not cause the plaintiff’s injury, there is no way causation

     could be traced to the manufacturer’s failure to warn. To be sure, these inquiries will

     frequently merge, but the fact remains that a manufacturer’s failure to warn is distinct

     from the act of creating the product. The court believes that, in certain narrow

     circumstances, a manufacturer’s failure to warn of risks associated with its own product




                                                  16
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 17 of 41




     can cause a plaintiff to suffer injury through another manufacturer’s product.8 As the

     Eastern District of Louisiana explained in Bell, where the plaintiff’s injury is attributable

     to “a replacement aftermarket wear item—i.e., a part that is designed to wear down and

     be replaced,” and that replacement wear item “is materially identical to a wear item in the

     originally shipped product, it is hard to see how the manufacturer’s breach of its duty to

     provide a suitable warning with respect to the original product is not at least one of the

     proximate causes of a resulting injury.” 2016 WL 5780104, at *6 n.16.9 Thus, the

     distinction may be quite narrow, but the court finds that it is not meaningless. See id.

     (stating that “such an exception . . . may well be quite narrow,” “[b]ut that does not

     justify a categorical rule” that an equipment manufacturer’s failure to warn cannot

     proximately cause “a sailor’s exposure to a hazardous substance contained in an

     aftermarket replacement component part”). Because Lindstrom’s analysis does not

            8
                For the purposes of this discussion, the court assumes that the harm-causing
     “product” in question is the asbestos-containing component, not the piece of equipment
     itself. If the harmful “product” is considered to be the piece of equipment, then
     Lindstrom poses no obstacle to a finding of liability in this case because Chesher was
     clearly exposed to Crane valves and de-aerating feed-tanks.
              9
                The court recognizes that, unlike some courts that have applied Quirin, the Bell
     decision speaks in terms of the manufacturer’s duty to warn with respect to its original
     product and not with respect to replacement components. Bell, 2016 WL 5780104, at *6.
     In fact, the Bell decision specifically rejects what it reads to be Quirin’s holding—that “a
     manufacturer can be liable for failing to warn regarding asbestos when a manufacturer
     makes a product in which the use of asbestos components is ‘essential to the proper
     function of the . . . product.’” Id. at *4 (quoting Quirin, 17 F. Supp. 3d at 769–70). This
     court does not read Quirin so broadly. As discussed in greater detail below, the court
     finds that Quirin is constrained to cases where (1) the defendant actually incorporated
     asbestos-containing components into its original product, 17 F. Supp. 3d at 771, and
     (2) the defendant “specified” the use of asbestos-containing replacement components, or
     such components were “essential to the proper functioning” of the product. Id. at 769,
     771. When these constraints are recognized, the court believes the practical effect is that
     Quirin imposes a duty to warn with respect to asbestos-containing replacement
     components under the same circumstances in which Bell indicates that a defendant’s
     failure to warn with respect to the original asbestos-containing components constitutes a
     proximate cause of the plaintiff’s injury.
                                                  17
3:15-cv-02123-DCN         Date Filed 02/13/17      Entry Number 294          Page 18 of 41




     account for this distinction, the court finds that it is better read to apply only to

     manufacturing or design defect claims, not failure-to-warn claims.

                     2.      Majority Rule Under State Law

             Courts on both sides of the issue have also drawn support from cases applying

     state law. See Bell, 2016 WL 5780104, at *5 (noting decisions under Pennsylvania, New

     York, Maryland, and California law that indicated—to varying degrees of certainty—that

     a manufacturer may have a duty to warn regarding a product the manufacturer does not

     produce); Conner, 842 F. Supp. 2d at 798 (“[A] number of state courts . . . that have

     considered this issue have similarly held that a defendant manufacturer is not liable for a

     third party’s asbestos products when the defendant is not part of the “chain of

     distribution” of the asbestos product.”); see also Cabasug, 989 F. Supp. 2d at 1039

     (noting that the Conner decision demonstrated how its position was “consistent with

     several state court decisions addressing replacement parts”); Quirin, 17 F. Supp. 3d at

     770 (“The California Supreme Court, which approved of the bare metal defense . . . , also

     left room for an exception to the rule.”). Looking to state law is particularly significant in

     this case, given the split that has emerged in the federal courts addressing this issue under

     maritime law.10 Princess Cruises, Inc. v. Gen. Elec. Co., 143 F.3d 828, 834 (4th Cir.

             10
                While the court believes that this issue is best characterized as “unsettled”
     under maritime law, it notes that the trend appears to be moving away from Conner’s
     strict application of the bare metal defense. If one counts Quirin, then courts in six
     separate jurisdictions—the Northern District of New York, Eastern District of Louisiana,
     Southern District of Indiana, Southern District of Illinois, District of South Carolina, and
     Northern District of Illinois—have held, or at least suggested, that an equipment
     manufacturer may be held liable on a failure-to-warn theory for harm caused by asbestos-
     containing replacement components. Osterhout, 2016 WL 6310765, at *3; Bell, 2016
     WL 5780104, at *6; Hedden, 2015 WL 5775570, at *14; Kochera, 2015 WL 5584749, at
     *4; Andrews, 2015 WL 12831315, at *6; Quirin, 17 F. Supp. 3d at 769–71. Similarly, if
     one includes the MDL court, then courts in six jurisdictions—the District of Delaware,
     Western District of Kentucky, Northern District of New York, District of Hawaii,
                                                    18
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 19 of 41




     1998) (“When no federal statute or well-established rule of admiralty exists, admiralty

     law may look to the common law or to state law, either statutory or decisional, to supply

     the rule of decision.”).

             Courts that have endorsed a strict application of the bare metal defense often

     discuss three state court decisions: Simonetta v. Viad Corp., 197 P.3d 127 (Wash. 2008),

     Braaten v. Saberhagen Holdings, 198 P.3d 493 (Wash. 2008), and O’Neil v. Crane Co.,

     266 P.3d 987 (Cal. 2012). See Conner, 842 F. Supp. 2d at 798–800 (discussing

     Simonetta, Braaten, and O’Neil as decisions which “have [] held that a defendant

     manufacturer is not liable for a third party’s asbestos products when the defendant is not

     part of the ‘chain of distribution’ of the asbestos product”); see also Cabasug, 989 F.

     Supp. 2d at 1039–41 (reviewing and endorsing the Conner court’s evaluation of

     Simonetta, Braaten, and O’Neil); Devries, 188 F. Supp. 3d at 463 (describing Conner’s

     interpretation of Lindstrom as “consistent with [the rules set forth under] state law in

     O’Neil, Simonetta, and Braaten—decisions which each considered and relied upon

     Lindstrom in determining its respective rule of law regarding negligent failure-to-warn”).

     However, there are problems with relying on Simonetta, Braaten, and O’Neil to hold that

     Southern District of Florida, and Eastern District of Pennsylvania—have adopted, or at
     least suggested, the opposite conclusion. Evans, 2017 WL 240079, at *1; Stallings, 2015
     WL 7258518, at *4; Crews, 2014 WL 639685, at *5; Cabasug, 989 F. Supp. 2d at 1041;
     Faddish, 881 F. Supp. 2d at 1373; Conner, 842 F. Supp. 2d at 798–801. However, if one
     looks only to courts that have taken a position after Quirin was decided, the count is five
     to four in favor of Quirin—and that is counting the MDL court’s reaffirmation of the
     Conner approach in Devries, 188 F. Supp. 3d at 460–61, but not counting Quirin itself.
     Moreover, of the two Northern District of New York decisions that appear to have
     reached different conclusions—the Osterhout decision, which adopted Quirin, in no
     uncertain terms, 2016 WL 6310765, at *3, and the Crews decision, which applied the
     bare metal defense, 2014 WL 639685, at *5—the Osterhout decision was issued more
     recently. See Osterhout, 2016 WL 6310765 (decided October 27, 2016); Crews, 2014
     WL 639685 (decided February 18, 2014). When all of these decisions are considered
     together, the court finds that the scales tip slightly in favor of the Quirin approach, but not
     enough to foreclose the need for further analysis.
                                                   19
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 20 of 41




     an equipment manufacturer can never be liable for injury caused by asbestos-containing

     replacement components. As an initial matter, each of these decisions stopped short of

     foreclosing the availability of a failure-to-warn claim in the circumstances outlined in

     Quirin—namely, where (1) the defendant actually incorporated asbestos-containing

     components into its original product, Quirin, 17 F. Supp. 3d at 771, and (2) the defendant

     “specified” the use of asbestos-containing replacement components, or such components

     were “essential to the proper functioning” of the product. Id. at 769, 771.

            In the companion cases of Simonetta and Braaten, the Supreme Court of

     Washington held that the equipment manufacturer defendants did not have a duty to warn

     of the risks associated with asbestos-containing replacement components because they

     were not part of the “chain of distribution” of the hazardous products, even if those risks

     were foreseeable. Simonetta, 197 P.3d at 138 (“Because [defendant] was not in the chain

     of distribution of the dangerous product, we conclude not only that it had no duty to warn

     under negligence, but also that it cannot be strictly liable for failure to warn.”); Braaten,

     198 P.3d at 504 (“As we held in Simonetta, a manufacturer has no duty under common

     law products liability or negligence principles to warn of the dangers of exposure to

     asbestos in products it did not manufacture and for which the manufacturer was not in the

     chain of distribution.”). But in Simonetta, it was “undisputed that [the defendant] sold

     the evaporator without insulation and that it did not manufacture, sell, or select the

     asbestos insulation” in question. Simonetta, 197 P.3d at 138. Thus, the Simonetta

     plaintiffs’ claims would have also failed under Quirin, which requires a showing that the

     manufacturer actually incorporated asbestos into the product when it was originally sold.

     See Dandridge, 2016 WL 319938, at *4 (holding that summary judgment would be



                                                   20
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294        Page 21 of 41




     appropriate under Quirin where “there [was] no evidence that [the defendant] ‘actually

     incorporated asbestos-containing materials into the products it sold’”).

             The Braaten decision came somewhat closer to addressing the circumstances

     outlined in Quirin. In that case, there was evidence that “some of the defendants’

     products originally contained packing and gaskets with asbestos.” Braaten, 198 P.3d at

     496. The court found these facts were not sufficient to support a failure-to-warn claim

     against the defendants for asbestos-containing products they did not supply, but explicitly

     stated that

             we need not and do not reach the issue of whether a duty to warn might
             arise with respect to the danger of exposure to asbestos-containing
             products specified by the manufacturer to be applied to, in, or connected to
             their products, or required because of a peculiar, unusual, or unique
             design.

     Id. Because Quirin requires those very conditions to be met, the court concludes that the

     decision in Braaten also falls short of foreclosing a failure-to-warn claim under Quirin.

             Moreover, the Washington law has moved toward the Quirin approach in the

     years since Simonetta and Braaten were decided. As the MDL court has acknowledged,

             the Supreme Court of Washington appears to have since retreated
             somewhat from its earlier adoption of the so-called ‘bare metal defense’ in
             Simonetta . . . and Braaten . . . [by later] distinguish[ing] the facts in
             Macias v. Saberhagen Holdings, Inc., 282 P.3d 1069 (Wash. 2012), and
             holding that a product manufacturer can at least sometimes be liable for
             failure to warn of the hazards of asbestos exposure that necessarily occurs
             as a result of the intended use of the product for the purpose for which it
             was designed—even if the product itself did not contain asbestos when
             manufactured and supplied, and the asbestos was released from another
             manufacturer’s product.

     Devries, 188 F. Supp. 3d at 456 n.4 (alterations in original) (quoting Schwartz v. Abex

     Corp., 106 F. Supp. 3d 626, 646 (E.D. Pa. 2015)). The critical distinction offered by the

     Macias court was that, in Simonetta and Braaten, “the manufacturers’ products did not, in


                                                 21
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294        Page 22 of 41




     and of themselves, pose any inherent danger of exposure to asbestos,” whereas in Macias,

     when the “the products were used exactly as intended . . . they inherently and invariably

     posed the danger of exposure to asbestos.” 282 P.3d at 1077 (emphasis in original).

     Such reasoning is quite analogous to the Quirin court’s focus on “inevitability.” Quirin,

     17 F. Supp. 3d at 771. Thus, the law of Washington actually appears more consistent

     with the Quirin approach than with Conner’s strict application of the bare metal defense.

            As for the Supreme Court of California’s decision in O’Neil, the court need look

     no further than footnote 6 of the opinion to see that, like the Simonetta and Braaten

     decisions, it cannot be read to impose an absolute prohibition on liability for asbestos-

     containing replacement parts. In O’Neil, the plaintiffs argued that the defendants’

     products were “defective because they were ‘designed to be used’ with asbestos-

     containing components.” O’Neil, 266 P.3d at 996. The court first held the “mere

     compatibility” with asbestos-containing components was insufficient to impose liability

     on the defendants. Id. Then, in footnote 6, the court explained that:

            A stronger argument for liability might be made in the case of a product
            that required the use of a defective part in order to operate. In such a case,
            the finished product would inevitably incorporate a defect. One could
            argue that replacement of the original defective part with an identically
            defective one supplied by another manufacturer would not break the chain
            of causation. Similarly, if the product manufacturer specified or required
            the use of a defective replacement part, a stronger case could be made that
            the manufacturer’s failure to warn was a proximate cause of resulting
            injury. In both contexts, however, the policy rationales against imposing
            liability on a manufacturer for a defective part it did not produce or supply
            would remain. [] These difficult questions are not presented in the case
            before us, and we express no opinion on their appropriate resolution.




                                                  22
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 23 of 41




     Id. at 996 n.6 (emphasis in original). Again, the Quirin approach is explicitly restricted to

     the circumstances addressed in footnote 6 of the O’Neil decision.11 It is true that the

     O’Neil court did not tip its hand on whether or not California law would recognize a

     claim in such circumstances. Though it extolled the logical virtues of such a claim, it

     also noted that even in the circumstances outlined in footnote 6, “the policy rationales

     against imposing liability on a manufacturer for a defective part it did not produce or

     supply would remain.”12 Id. at 996 n.6. But the fact remains that the court did not take a

     position either way. Because the O’Neil decision explicitly declined to address the issue,

     the court finds that it does not weigh for or against the Quirin approach in determining

     the majority position under state law.

            While the Simonetta, Braaten, and O’Neil decisions provide little, if any, support

     for the Conner approach, the Southern District of Florida’s decision in Faddish was far

     less equivocal. 881 F. Supp. 2d 1361. Though Faddish was a maritime law case, the

     court applied Florida law after determining that Florida law and maritime law were not

     inconsistent on the issue. Id. at 1369. Thus, the Faddish decision not only endorsed the

     Conner approach under maritime law, but also provided a thorough analysis of the issue

     under Florida law. Id. at 1370–72. The Faddish court adopted a strict application of the

     bare metal defense, concluding that manufacturers could not be held liable for a

     plaintiff’s exposure to asbestos-containing replacement parts where there was “no

     evidence that any of these replacement parts [were] made by any defendant or that

     defendants had any involvement with their installation.” Id. at 1373. Notably, the court
            11
               In fact, Quirin’s application is even narrower, given its “actual incorporation”
     requirement. See Quirin, 17 F. Supp. 3d at 771 (imposing liability where defendant
     designed products to be used with asbestos and “actually incorporated asbestos-
     containing materials into the products it sold”).
            12
               These policy arguments are discussed in greater detail in part III.B.3. below.
                                                  23
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294        Page 24 of 41




     reached this conclusion even though there was evidence that some of the defendants’

     products contained asbestos-containing components when they were originally

     distributed and it was foreseeable13 that such components would need to be replaced. Id.

     Thus, the court concludes that the Conner approach is consistent with Florida law.14

            Unsurprisingly, this is not enough to conclude that Conner represents the majority

     approach. There are a number of state court decisions recognizing exceptions to the bare

     metal defense that are at least as permissive as Quirin. See, e.g., In re N.Y.C. Asbestos

            13
                One might argue that Faddish can be distinguished because it rejected liability
     premised on “foreseeability” rather than “inevitability.” The court does think this
     distinction is important in the application of the Quirin approach, but finds that the thrust
     of the Faddish decision cannot be distinguished so easily, especially when one recognizes
     that the Faddish court viewed its decision as consistent with Conner. See Faddish, 881 F.
     Supp. 2d at 1368 (S.D. Fla. 2012).
             14
                The court is aware of several other decisions that applied the bare metal defense
     under state law, but stopped short of rejecting a Quirin-like claim. In Morgan v. Bill
     Vann Co., the court applied Alabama law to hold that the defendant-manufacturer “[was]
     not liable for harm caused by, and owed no duty to warn [the plaintiff] or anyone else
     concerning the hazards of, asbestos-containing packing and gaskets that users of [its]
     pumps might install, where [it] did not manufacture, sell or distribute such asbestos-
     containing components.” 969 F. Supp. 2d 1358, 1369 (S.D. Ala. 2013). However, the
     Morgan court did not determine the legal merits of the plaintiff’s argument that the
     defendant “specified particular gaskets and packing for use [] and is therefore culpable
     for any asbestos exposure [] arising from such specifications,” instead rejecting that
     argument on the facts. Id. at 1371. Similarly, the court in In re Asbestos Litigation
     determined that, under Utah law, a “[d]efendant is not liable under a failure to warn claim
     for asbestos-containing products added to its products after sale,” but then noted that
     “[plaintiff] has not provided evidence in the record that [d]efendant specified, required, or
     recommended asbestos-containing products be added to its products on which [p]laintiff
     actually worked,” suggesting that a Quirin-like exception may exist. 2012 WL 1408982,
     at *3 (Del. Super. Ct. Apr. 2, 2012). Finally, in Thurmon v. Georgia Pacific, LLC, the
     court held that, under Georgia law, a plaintiff must show that his injury was caused by the
     defendant’s own product, but also appeared to recognize that a valve that required the use
     of asbestos-containing gaskets would be considered a defective product. 650 F. App’x
     752, 758–59 (11th Cir. 2016) (“[I]n order to survive summary judgment, the plaintiffs
     had to offer some evidence that Thurmon’s injuries were caused by a Crane Co. valve
     that required the use of asbestos-containing gaskets to function properly.”). Perhaps
     these decisions provide some additional support for the Conner approach, but the court
     finds that even if they were counted, they would be insufficient to tip the scales in favor
     of Conner over Quirin.
                                                  24
3:15-cv-02123-DCN      Date Filed 02/13/17      Entry Number 294        Page 25 of 41




     Litig., 59 N.E.3d 458, 471 (N.Y. 2016) (“[T]he manufacturer of a product has a duty to

     warn of the danger arising from the known and reasonably foreseeable use of its product

     in combination with a third-party product which, as a matter of design, mechanics or

     economic necessity, is necessary to enable the manufacturer’s product to function as

     intended.”); McKenzie v. A.W. Chesterson Co., 373 P.3d 150, 160–62 (Or. Ct. App.

     2016), review denied sub nom., 381 P.3d 841 (Or. 2016) (rejecting bare metal defense

     where it was foreseeable that plaintiff would be exposed to asbestos-containing

     replacement components); May v. Air & Liquid Sys. Corp., 129 A.3d 984, 1000 (Md.

     2015) (“[A] manufacturer will have a duty to warn under negligence and strict liability

     when (1) its product contains asbestos components, and no safer material is available; (2)

     asbestos is a critical part of the pump sold by the manufacturer; (3) periodic maintenance

     involving handling asbestos gaskets and packing is required; and (4) the manufacturer

     knows or should know the risks from exposure to asbestos.”); Schwartz, 106 F. Supp. 3d

     at 655 (“[U]nder Pennsylvania law, a product manufacturer has a [] duty to warn about

     the asbestos hazards of a component part later used with its product, which it neither

     manufactured nor supplied . . . , if the manufacturer knew its product would be used with

     that type of asbestos-containing component . . . .”); Garvin v. AGCO Corp., Case No.

     2012-cp-40-6675, slip op. at 15–18 (S.C. Ct. C.P. December 10, 2014) (expressing

     approval of Quirin and holding that a manufacturer may be liable for harm caused by

     asbestos-containing replacement gaskets and packing when “[the] manufacturer

     recommends, specifies, or requires that asbestos gaskets and packing be replaced with

     like materials”). As noted above, it also appears that Washington has adopted a similar

     position, recognizing that liability may be imposed where a manufacturer’s product



                                                 25
3:15-cv-02123-DCN         Date Filed 02/13/17      Entry Number 294         Page 26 of 41




     “inherently and invariably pose[s] [a] danger of exposure to asbestos.” Macias, 282 P.3d

     at 1077 (emphasis omitted). In light of the recent trend towards recognizing a

     manufacturer’s duty to warn with respect to replacement parts in limited circumstances,

     and the fact that Conner’s support at the state level was rather measured to begin with,

     the court finds that the Quirin approach is more consistent with the majority view under

     state law.

                     3.      Policy Considerations

             Policy considerations have also played an important role in the courts’ treatment

     of this issue. E.g., Conner, 842 F. Supp. 2d at 801. Indeed, courts have recognized that

     the scope of a legal duty is essentially a matter of policy. See In re N.Y.C. Asbestos

     Litig., 59 N.E.3d at 469 (listing various, policy-based factors used to determine whether a

     duty exists in a particular situation, including “the most reasonable allocation of risks,

     [the] burdens and costs among the parties and within society, . . . economic impact,

     . . . the person [] best positioned to avoid the harm[,] . . . the public policy served by the

     presence or absence of a duty and the logical basis of a duty.”); Devries, 188 F. Supp. 3d

     at 463 (distinguishing state law cases rejecting the bare metal defense on the ground that

     “[t]he rule of law set forth in each of these cases reflects a policy determination of that

     particular state—a policy determination which need not be consistent with the policy

     determination underlying maritime law”); May, 129 A.3d at 994 (“We have recognized

     that ‘[a]t its core, the determination of whether a duty exists represents a policy question

     of whether the specific plaintiff is entitled to protection from the acts of the defendant.’”

     (quoting Gourdine v. Crews, 955 A.2d 769, 783 (Md. 2008))). This does not mean that a

     court is free to impose its own policy preferences; the court must ask whether the law has



                                                   26
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 27 of 41




     already made this policy determination and account for the doctrinal framework in which

     the question arises. However, in this case, since there is no clearly established rule,15 the

     court believes policy considerations must be accorded significant weight.

            While courts have almost universally recognized the role policy considerations

     play in analyzing this issue, they have disagreed on which approach these considerations

     favor. Compare Bell, 2016 WL 5780104, at *8 (finding that “the manufacturer of the

     finished product containing asbestos may well be better placed to warn when compared

     to the manufacturer of an aftermarket wear item”); In re N.Y.C. Asbestos Litig., 59

     N.E.3d at 473 (“The endorsement of a manufacturer’s duty to warn against certain

     combined uses of its product and a third-party product comports with the long-standing

     public policy underlying products liability in New York.”); with Conner, 842 F. Supp. 2d

     at 801 (finding that public policy considerations “weigh[] against holding manufacturers

     liable for harm caused by asbestos products they did not manufacture or distribute

     because those manufacturers cannot account for the costs of liability created by the third

     parties’ products”). Courts have justified the bare metal defense on the ground that

     recognizing liability for third-party replacement components would impose too great a

     cost on the original equipment manufacturers. Conner, 842 F. Supp. 2d at 801; see also

     O’Neil, 266 P.3d at 1005–06 (explaining that “a manufacturer cannot be expected to

     exert pressure on other manufacturers to make their products safe and will not be able to

     share the costs of ensuring product safety” and that “[i]t is [] unfair to require

     manufacturers of nondefective products to shoulder a burden of liability when they




            15
               As the court noted above in footnote 10, the Quirin approach does appear to at
     least have more support in recent decisions.
                                                   27
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 28 of 41




     derived no economic benefit from the sale of the products that injured the plaintiff”).16

     As a general matter, this is a sound proposition. Manufacturers cannot control the risks

     associated with every product that might foreseeably be used in conjunction with their

     own. Thus, forcing manufacturers to account for such risks only serves to increase the

     costs of producing their own product, without improving the incentive structure

     surrounding the production of the product that actually caused the plaintiffs’ harm.

            However, the assumptions underlying this rationale do not hold in the context of a

     Quirin claim, which requires a showing that (1) the defendant actually incorporated

     asbestos-containing components into its original product, and (2) the defendant

     “specified” the use of asbestos-containing replacement components, or such components

     were “essential to the proper functioning” of the defendant’s product. Quirin, 17 F. Supp.

     3d at 769, 771. In these narrow circumstances, the original equipment manufacturer is

     well-positioned to bear the costs of the risk associated with asbestos-containing

     replacement parts. When a manufacturer actually incorporates a particular component

     into its product, it cannot claim a lack of control over the risks associated with that

     component, as the manufacturer has every opportunity to test that component and become

     familiar with such risks. See Bell, 2016 WL 5780104, at *7 n.16 (recognizing that a

     manufacturer has a duty to “investigate and warn” about risks associated with

     components that the manufacturer puts into its product); Garvin, Case No. 2012-cp-40-

     6675, slip op. at 13 (recognizing that Crane “had every opportunity to test and evaluate

     the asbestos gaskets and packing used in its valves”). To the extent the manufacturer

            16
              Of course, the O’Neil court declined to address whether the bare metal defense
     would apply in circumstances similar to those outlined in Quirin. O’Neil, 266 P.3d at
     996 n.6. However, the court did indicate that the policy considerations underlying the
     bare metal defense would still apply. Id.
                                                   28
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 29 of 41




     designs or markets its product in such a way that the product will always require the same

     risk-bearing component, it exercises control over the risk associated with replacement

     components. Cf. Dandridge, 2016 WL 319938, at *3 (“[A] product that ‘inevitably’

     subjects its user to the possible hazards of asbestos exposure and a product that actually

     contains asbestos bear comparable causal relationships to their users’ injuries.”) (internal

     quotations omitted). In a sense, the Quirin requirements serve to limit a manufacturer’s

     liability to cases where the harm arises from risks that are effectively incorporated into

     the manufacturer’s product, though they may be borne by a replacement component. Cf.

     May, 129 A.3d at 999 (“The necessary replacement of asbestos components with

     identical components cannot be said to constitute a substantial modification.”). Thus,

     where Quirin applies, the equipment manufacturer has at least as much power to control

     the risks associated with the asbestos-containing replacement components as the

     component manufacturers themselves. Indeed, some courts have suggested that

     equipment manufacturers may be in a better position to warn of such risks than the

     component manufacturers. See Bell, 2016 WL 5780104, at *7 n.16 (“The manufacturer

     of the finished product containing asbestos may well be better placed to warn when

     compared to the manufacturer of an aftermarket wear item.”); In re N.Y.C. Asbestos

     Litig., 27 N.Y.3d at 791 (“[T]he end user is more likely to interact with the durable

     product over an extended period of time, and hence he or she is more likely to inspect

     warnings on that item or in associated documentation than to review warnings supplied

     by the maker of the ‘wear item.’”).

              The defendant-manufacturer also derives a benefit from the sale of such

     components, “as the manufacturer is able to sell its own product to customers precisely



                                                  29
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 30 of 41




     because the third party has sold to those customers another item that is essential to the

     product’s function.” In re N.Y.C. Asbestos Litig., 59 N.E.3d at 472. This benefit should

     not be conferred without the costs that attend it. Allowing equipment manufacturers to

     reap profits conditioned on the proliferation of asbestos-containing replacement

     components, while immunizing them from liability relating to such components, creates

     an incentive structure that fails to account for the costs such manufacturers impose on

     society. This result is socially inefficient—not to mention, palpably unjust. Restatement

     (Second) of Torts § 402A comment c. (“[P]ublic policy demands that the burden of

     accidental injuries caused by products intended for consumption be placed upon those

     who market them, and be treated as a cost of production against which liability insurance

     can be obtained.”).17 The naval workers who used Crane’s products were certainly in no

            17
                The court is aware that § 402A is often cited as a basis for restricting a
     manufacturer’s liability to its own product. E.g., Conner, 842 F. Supp. 2d at 801.
     Nevertheless, in the narrow circumstances outlined by Quirin, the court is convinced that
     the rationale of § 402A weighs against the bare metal defense. This position is perhaps
     best explained by focusing on what constitutes the harmful “product” at the center of the
     analysis. Courts that have strictly applied the bare metal defense have consistently
     regarded the asbestos-containing replacement component as the “product,” while courts
     that have cited § 402A in support of the Quirin-like approach have regarded the original
     piece of equipment as the “product.” See May, 129 A.3d at 999 (“Common sense tells us
     that the pumps were what [r]espondents sold to the Navy, and the gaskets and packing are
     included within that product.”); Garvin, Case No. 2012-cp-40-6675, slip op. at 17
     (“When the asbestos gaskets and packing were replaced with the same materials that
     came with the valve, it was not a ‘substantial change’ in the condition of the product.
     The product remained the same as when sold—valves containing asbestos gaskets and
     packing.”). If the original equipment is considered to be the “product” in question, then
     the application of § 402A becomes clear.
              While this court prefers to refer to the asbestos-containing replacement
     component as separate “products,” this is simply to avoid semantic confusion. The court
     reiterates its position that, where the requirements of Quirin are met, the risks associated
     with asbestos-containing replacement components are effectively incorporated into the
     equipment itself. Thus, the court accepts the logic of the May and Garvin decisions, even
     if it does not adopt the same phrasing. Were the court to phrase its analysis in the terms
     used by the May and Garvin courts, it would agree that installing asbestos-containing
     replacement components does not effect a “substantial change” to the equipment.
                                                  30
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294          Page 31 of 41




     position to protect themselves against the dangers inherent in such use. If a plaintiff can

     prove that an equipment manufacturer’s actions rendered such exposure inevitable, there

     is little reason to treat the equipment manufacturer differently than the actual

     manufacturer of the asbestos-containing components that caused the plaintiff’s harm. See

     In re N.Y.C. Asbestos Litig., 59 N.E.3d at 792–93 (“‘[T]oday as never before the product

     in the hands of the consumer is often a most sophisticated and even mysterious article,’

     and given the practical inability of the users of modern products to detect the dangers

     inherent in their operation, ‘from the standpoint of justice . . . , responsibility should be

     laid on the manufacturer.’” (quoting Codling v. Paglia, 298 N.E.2d 622, 627 (N.Y.

     1973))).

             There is one policy argument specific to maritime law that does favor Conner’s

     strict application of the bare metal defense: the goal of uniformity. Devries, 188 F.

     Supp. 3d at 463. Concerns with uniformity are at the heart of maritime law. As the

     Cabasug court recognized, the Constitution intended maritime law to be

             a system of law coextensive with, and operating uniformly in, the whole
             country. It certainly could not have been the intention to place the rules
             and limits of maritime law under the disposal and regulation of the several
             States, as that would have defeated the uniformity and consistency at
             which the Constitution aimed on all subjects of a commercial character
             affecting the intercourse of the States with each other or with foreign
             states.

     Cabasug, 989 F. Supp. 2d at 1036 (quoting Am. Dredging Co. v. Miller, 510 U.S. 443,

     451 (1994)).

             The Conner approach provides a bright-line rule that calls for very little factual

     analysis; the court looks for evidence that the plaintiff was exposed to asbestos fibers that

     the defendant actually manufactured, and if there is no such evidence, the claim fails.

     Conner, 842 F. Supp. 2d at 801 (“[U]nder maritime law, a manufacturer is not liable for
                                                   31
3:15-cv-02123-DCN      Date Filed 02/13/17       Entry Number 294        Page 32 of 41




     harm caused by, and owes no duty to warn of the hazards inherent in, asbestos products

     that the manufacturer did not manufacture or distribute.”). The Quirin approach, in

     contrast, requires analysis of several additional factors: (1) whether the defendant

     actually incorporated asbestos-containing components in its original product, and

     (2) whether the defendant specified the use of such components or the defendant’s

     product required such components to function properly. Quirin,17 F. Supp. 3d at 769,

     771. These factors present interpretive questions that could lead to divergent results. For

     instance, courts could disagree on what it means to “specify” the use of a component.

     Compare Bell, 2016 WL 5780104, at *3 n.11 (finding that a manufacturer should not be

     permitted to escape liability for “affirmatively recommend[ing]” the use of asbestos

     components simply “because the manufacturer did not make, sell, or otherwise control

     the asbestos”);18 with Andrews, 2015 WL 12831342, at *2 (distinguishing between



            18
               As previously noted in footnote 3, the Bell decision analyzed the issue using a
     somewhat different framework than most other courts. The above-cited language was
     offered in connection with the Bell court’s finding that

            [e]ven if defendants do not have a duty to warn arising out of merely
            manufacturing a particular product that might be used with asbestos, they
            can nonetheless have duties arising out of taking the additional action of
            negligently recommending that a plaintiff use asbestos in conjunction with
            the manufacturer’s products.

     Bell, 2016 WL 5780104, at *3 (emphasis in original). Thus, the Bell court appears to
     have been discussing manufacturers’ “recommendations” as a basis for liability under a
     negligent misrepresentation theory, not a failure-to-warn theory. While this may
     distinguish the cited language from the instant discussion, the court highlights such
     language to show that there is room for disagreement regarding the level of
     “specification” required to support a finding of liability.
             The court wishes to clarify that it has not endeavored to address the Bell courts
     negligent misrepresentation theory in this decision. Because the court ultimately finds
     that Crane incorporated asbestos-containing components in the equipment it supplied the
     Navy and specified the use of such components, the court concludes that plaintiffs have
     provided enough evidence to support a failure-to-warn claim under Quirin. The court
                                                 32
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294          Page 33 of 41




     “recommending” the use of asbestos-containing components, and “specifying” the use of

     such components). Courts could also disagree on what it means for a product to

     “require” asbestos-containing components to function properly. Though this language

     would appear to suggest that the asbestos-containing components be mechanically

     “essential,” see Quirin, 17 F. Supp. 3d at 769–70 (“[A] duty may attach . . . where the

     asbestos-containing material was essential to the proper functioning of the defendant’s

     product . . . .”), some courts have expanded this concept to include “economic necessity.”

     In re N.Y.C. Asbestos Litig., 59 N.E.3d at 474 (imposing duty to warn “where a

     manufacturer creates a product that cannot be used without another product as a result of

     the design of the product, the mechanics of the product or the absence of economically

     feasible alternative means of enabling the product to function as intended”) (emphasis

     added). It is also not entirely clear that all of the courts that have adopted Quirin have

     included what this court regards as the first factor of the Quirin-test—whether the

     defendant actually incorporated asbestos-containing components in its original product.

     See Osterhout v. Crane Co., Case No. 5:14-cv-0208, slip op. 25 (N.D.N.Y. March 21,

     2016) (finding duty to warn where “[defendant] shipped its boilers to the Navy

     . . . without external asbestos insulation,” but “provided the Navy with engineers to assist

     in the erection, insulation, and installation of its boilers”). Given the potential for

     disagreement inherent in the Quirin approach, the court has little trouble finding that

     adoption of Conner’s strict application of the bare metal defense would likely lead to

     more consistent results, better serving maritime law’s uniformity interests.




     takes no position on whether the negligent misrepresentation theory posited by the Bell
     court is viable or what evidence would be required to support it.
                                                   33
3:15-cv-02123-DCN        Date Filed 02/13/17     Entry Number 294         Page 34 of 41




             However, uniformity is not the sole interest of maritime law. See Bell, 2016 WL

     5780104, at *3 n.11 (“[O]ur interest in uniformity, though powerful, does not require us

     to adopt legal conclusions we believe to be in error.” (quoting Excel Willowbrook, L.L.C.

     v. JP Morgan Chase Bank, Nat. Ass’n, 758 F. 3d 592, 601 (5th Cir. 2014)). “[O]ne of the

     primary goals of maritime law [is] to protect maritime workers from the perils of working

     at sea.” Mack v. Gen. Elec. Co., 896 F. Supp. 2d 333, 338 (E.D. Pa. 2012). For the

     reasons outlined above, the Quirin approach serves to protect maritime workers in the

     same way that traditional products liability doctrines protect consumers. It forces

     manufacturers to account for the risks they impose on others through the sale of their

     products, and provides an avenue of relief for those injured by such products.

     Restatement (Second) of Torts § 402A comment c. (“[P]ublic policy demands that the

     burden of accidental injuries caused by products intended for consumption be placed

     upon those who market them, and be treated as a cost of production against which

     liability insurance can be obtained.”). Ultimately, the court finds the law’s interest in

     protecting the maritime workers more significant than its interest in uniformity, and

     therefore, concludes that policy considerations weigh in favor of adopting the Quirin

     approach.

                    4.      Adopting and Clarifying the Quirin Approach

            Having determined that the Quirin approach (1) is not foreclosed by Lindstrom,

     (2) is more consistent with the majority position under state law, and (3) is favored by the

     relevant policy considerations, the court holds that plaintiffs’ failure-to-warn claims are

     not foreclosed by the bare metal defense.




                                                  34
3:15-cv-02123-DCN        Date Filed 02/13/17     Entry Number 294        Page 35 of 41




            This leads to a secondary question: what evidence does Quirin require? Plaintiffs

     state that Quirin simply requires evidence that the defendant “designed its products to be

     used with asbestos-containing materials and actually incorporated asbestos-containing

     materials into the products it sold.” Pls.’ Resp. 11 (quoting Quirin, 17 F. Supp. 3d at

     771). Crane reads this court’s decision in Dandridge to establish a three-pronged test,

     requiring evidence that: “(i) the asbestos containing product was incorporated into the

     equipment when sold; (ii) the product needed asbestos containing components to

     function; and (iii) the manufacturer provided specifications for such use.” Def.’s Reply 4

     (emphasis added).

            There is no dispute that that the court views “actual incorporation” of asbestos-

     containing components into the original product as an independent, strict requirement of

     the test. Indeed, this understanding of Quirin was essential to the court’s holding in

     Dandridge. See Dandridge, 2016 WL 319938, at *4 (granting summary judgment after

     finding “no evidence that Crane ‘actually incorporated asbestos-containing materials into

     the products it sold’” (quoting Quirin, 17 F. Supp. 3d at 771)). However, the court does

     not regard the second and third prongs of Crane’s three-pronged test in the same way. A

     review of the Dandridge decision indicates that the language Crane relies on was merely

     used to describe the facts the Quirin court highlighted in recognizing a duty-to-warn. Id.

     at *4. The court described the Quirin decision as follows:

            In Quirin, the court found that a manufacturer’s duty to warn of risks
            relating to asbestos-containing materials arose where: (i) the manufacturer
            “designed its products to be used with asbestos-containing materials and
            actually incorporated asbestos-containing materials into the products it
            sold;” (ii) the manufacturer’s product “needed asbestos-containing
            components to function properly” when used in the manner intended by
            the purchaser; and (iii) the manufacturer “provided specifications” for
            such use.

                                                 35
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 36 of 41




     Dandridge, 2016 WL 319938, at *4 (quoting Quirin, 17 F. Supp. 3d at 770–71).

     Immediately following this language, the court offered a similar summary of the

     Andrews decision, which applied Quirin’s rationale where the manufacturer

     “incorporated asbestos-containing components into its product . . . and specified the use

     of asbestos-containing replacement parts in its product.” Id. (quoting Andrews, 2015 WL

     12831315, at *6). The court then compared Quirin and Andrews, stating that

     “[c]rucially, the circumstances presented in both Quirin and Andrews were sufficient to

     invoke Quirin’s underlying rationale—that a duty to warn arises when a defendant

     manufacturer’s conduct makes the plaintiff’s asbestos exposure “inevitable,” not simply

     foreseeable.” Id. (emphasis added). This explanation indicates that the “crucial” aspect

     of the analysis is not whether the case was on all fours with every aspect of Quirin, but

     whether the rather demanding concept of inevitability applies.

            The Quirin decision explicitly states that this concept may apply where “the use

     of asbestos-containing materials was specified by a defendant” or “was essential to the

     proper functioning of the defendant’s product.”19 Quirin, 17 F. Supp. 3d at 769.

     Therefore the court holds that, to bring a failure-to-warn claim under Quirin, a plaintiff

     must show: (1) the defendant actually incorporated asbestos-containing components into

     its original product, 17 F. Supp. 3d at 771, and (2)(a) the defendant “specified” the use of

     asbestos-containing replacement components, or (b) such components were “essential to

     the proper functioning” of the defendant’s product. Id. at 769.

            19
               The Quirin court leaves open the possibility that there may be other
     circumstances where the use of asbestos-containing materials “was for some other reason
     so inevitable that, by supplying the product, the defendant was responsible for
     introducing asbestos into the environment at issue.” Quirin, 17 F. Supp. 3d at 769. This
     court also holds open this possibility, but takes no position on what such circumstances
     would entail.
                                                  36
3:15-cv-02123-DCN       Date Filed 02/13/17      Entry Number 294         Page 37 of 41




            C.      Application of Quirin in this Case

            Here, plaintiffs have certainly provided evidence that Crane incorporated

     asbestos-containing components into the valves it supplied for use on the ships Chesher

     served on. Crane admits that it “supplied valves and related parts” to certain of those

     ships and that its valves were approved for use on others. Pls.’ Resp. Ex. 8, Answers to

     Interrogs. 20–21. Crane separately admits that it enclosed “asbestos-containing gaskets,

     packing, or discs” inside of certain of its valves. Id. at 21. From these admissions, it is

     reasonable to infer that some of the Crane valves on the ships on which Chesher served

     actually incorporated asbestos-containing components at the time they were supplied. If

     Crane’s own admissions were not enough, Dr. Anthony Pantaleoni (“Pantaleoni”)

     testified that the Navy would have required Crane to include the exact components parts

     listed on the Navy-approved valve design drawings, and identified a number of design

     drawings that called for the use of asbestos-containing components in valves supplied to

     the ships where Chesher served. Pantaleoni Dep. at 24:1–26:24, 57:7–58:7, 63:3–64:22,

     72:9–18.

            There is also evidence that Crane “specified” the use of such components.

     Pantaleoni and plaintiff’s expert, Capt. Arnold Moore (“Moore”), both discuss certain

     design drawings of Crane valves installed on the USS Henderson, USS Fox, and USS

     Kraus. Both experts agree that these drawings specify the use of asbestos-containing

     internal bonnet gaskets and stem packing. Moore Aff. ¶ 17; Pantaleoni Dep. at 24:1–

     26:24, 57:7–58:7, 63:3–64:22, 72:9–18. Crane argues that it was the Navy, not Crane,

     that required the use of such components, and cites paragraph 23 of Moore’s affidavit for

     support. Def.’s Reply 4–6. While that paragraph does acknowledges that the Navy



                                                  37
3:15-cv-02123-DCN      Date Filed 02/13/17        Entry Number 294       Page 38 of 41




     provided specifications for the valves and de-aerating feed tanks it purchased, it also

     plainly states that the Navy’s specifications did not prevent manufacturers from designing

     their own products and permitted the use of both asbestos and non-asbestos components

     on products that were not exposed to superheated steam. Moore Aff. ¶ 23. Thus, to the

     extent Crane provided valves that were not exposed to superheated steam, the Moore

     affidavit indicates that Crane was ultimately responsible for specifying the use of

     asbestos-containing gaskets and packing.20

            Crane also highlights Pantaleoni’s testimony that “the Navy would specify what

     Crane [] had to provide. And in order for the Navy to accept it[,] Crane would have to

     adhere [to] the specification.”21 Pantaleoni Dep. at 24:15–18; see also id. at 48:22–24

     (“Once again, the Navy set the requirements as to whether or not it was going to be

     asbestos or non-asbestos.”). The court does not doubt that Pantaleoni’s testimony

     suggests that it was not Crane’s decision to “specify” the use of asbestos-containing

     replacement components. Moreover, the court agrees that when the consumer, not the

     manufacturer, makes the decision to utilize asbestos-containing components with a

     product that is fully compatible with non-asbestos components, the “inevitability”




            20
                 The Moore affidavit provides similar evidence with respect to the de-aerating
     feed tanks. Moore Aff. ¶¶ 19, 21.
              21
                 The court assumes that the “drawings” discussed in the excerpts of Pantaleoni’s
     February 26, 2016 deposition are the same “drawings” referenced by Moore in paragraph
     17 of his affidavit. See Pantaleoni Dep. at 35:22–36–25, 40:3–41:15, 44:17–20
     (referencing drawing numbers 22139, 22152, 22391, and 22414); Moore Aff. ¶ 17
     (referencing Crane drawing numbers 22139, 22152, 22391 and 22414). To the extent
     Pantaleoni was not talking about the same drawings as Moore, that suggests that
     Pantaleoni’s opinion does not directly contradict Moore’s and strengthens the court’s
     conclusion that plaintiffs have presented sufficient evidence to raise a genuine issue of
     fact as to whether Crane specified the use of asbestos-containing replacement
     components.
                                                  38
3:15-cv-02123-DCN      Date Filed 02/13/17        Entry Number 294         Page 39 of 41




     rationale underlying Quirin does not apply.22 However, the fact that Pantaleoni’s

     testimony supports such an argument does not mean that Crane is entitled to summary

     judgment. While Pantaleoni takes the position that the design drawings reflect the

     Navy’s decision to require asbestos-containing components, Moore has taken the position

     that such drawings reflect Crane’s design specifications. This is a quintessential dispute

     of material fact, and such disputes must be resolved by the jury.

            D.      Substantial Factor Causation

            Crane last attempts to argue that, in the event the court finds that it is legally

     responsible for the asbestos-containing replacement components used with its valves and

     de-aerating feed tanks, summary judgment is still appropriate because plaintiffs have

     failed to produce evidence that their exposure to such components was a “substantial

     factor” in causing Chesher’s injury. Def.’s Reply 1–3. The court first notes that

     argument was not raised until Crane filed its reply. “The ordinary rule in federal courts is

     that an argument raised for the first time in a reply brief or memorandum will not be

     considered.” Clawson v. FedEx Ground Package Sys., Inc., 451 F. Supp. 2d 731, 734 (D.

     Md. 2006); see also Bouchard v. Synchrony Bank, No. 2:16-cv-1713, 2016 WL 3753220,

     at *3 (D.S.C. July 14, 2016) (“An argument raised for the first time in a reply brief or

     memorandum will not be considered.”).

            22
                Of course, the fact that asbestos-containing components were specified at all
     might suggest that the valves could not function without such components. The court
     recognizes there is also evidence that there were suitable, non-asbestos substitutes.
     Pantaleoni Dep. at 48:18–49:2, 90:1–5 (referencing availability of non-asbestos
     components); Moore Aff. ¶ 23 (recognizing that most Navy specifications allowed a
     range of materials that included non-asbestos alternatives). Because the court finds there
     is sufficient evidence to find that Crane “specified the use of asbestos-containing
     components,” it declines to address whether there is a genuine issue of material fact as to
     whether asbestos-containing components were “essential to the proper functioning” of
     Crane’s valves.
                                                  39
3:15-cv-02123-DCN       Date Filed 02/13/17       Entry Number 294         Page 40 of 41




            Additionally, this argument is woefully underdeveloped. Crane relies heavily on

     the Ninth Circuit’s decision in McIndoe v. Huntington Ingalls Inc., where the court

     determined that evidence of the decedent’s “frequent” exposure to asbestos-containing

     insulation was insufficient to satisfy the substantial factor standard because plaintiff

     “presented no evidence regarding the amount of exposure to dust from originally installed

     asbestos, or critically, the duration of such exposure during any of these incidents.” 817

     F.3d 1170, 1176 (9th Cir. 2016) (emphasis in original). However, the McIndoe decision

     was also premised on the court’s rejection of the plaintiff’s expert testimony on the

     “every exposure” theory, which posits that “every exposure to asbestos above a threshold

     level is necessarily a substantial factor in the contraction of asbestos-related diseases.”

     Id. at 1177. Crane’s summary judgment briefing does not address the opinions of

     plaintiff’s expert Dr. Carlos Bedrossian (“Bedrossian”), who will testify that each of

     defendants’ products contributed to Chesher’s development of mesothelioma, ECF No.

     181-1 at 8, or Dr. Edwin C. Holstein, who is expected to testify about the quantities of

     asbestos that are released when removing and replacing asbestos-containing gaskets and

     packing. ECF No. 181-5 at 2–3. Consequently, the court is not in a position to assess

     Chesher’s exposure to asbestos contained in Crane’s valves because the court has not

     determined whether plaintiffs’ experts’ opinions can be considered in the substantial

     factor analysis.

            The court has scheduled a Daubert hearing to address Crane’s challenge to

     Bedrossian’s opinions. Once that challenge is resolved, the court will permit Crane to

     file a separate motion for summary judgment renewing its substantial factor argument.

     The court is aware that, in appropriate circumstances, it has discretion to consider



                                                   40
3:15-cv-02123-DCN       Date Filed 02/13/17        Entry Number 294          Page 41 of 41




     arguments raised for the first time in a reply brief. However, in this instance, the court

     concludes that the better course of action is for all parties to fully brief the issue after

     Crane’s motion to exclude Bedrossian’s testimony has been decided.

                                         IV. CONCLUSION

             For the foregoing reasons, the court DENIES Crane’s motion for summary

     judgment.

             AND IT IS SO ORDERED.




                                             DAVID C. NORTON
                                             UNITED STATES DISTRICT JUDGE
     February 13, 2017
     Charleston, South Carolina




                                                    41
